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                EXHIBIT B
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BFX Token Terms
As of 8/31/16



As you may know, certain property was stolen from iFinex Inc. and from BFXNA Inc.
(collectively, the "Bitfinex Group") on August 2, 2016 (the "Losses"). Since then, the Bitfinex
Group has been engaged in concerted efforts to stop the theft; investigate the security breach;
secure all property within the Bitfinex.com platform; and co­ordinate with international law
enforcement to identify the guilty parties, trace the property, and make recovery efforts for the
benefit of our customers.

The Losses have been allocated ratably among Bitfinex Group customers with Bitfinex custody
accounts in an effort to as closely as possible mirror what the Bitfinex Group considers would
happen if it were placed into liquidation and its property distributed to its creditors. A pro rata
share of the Losses is reflected in your account balance. In an effort to address your portion of
the Losses, the Bitfinex Group is committing to deploy its efforts to make you whole to the extent
of the full amount of your pro rata portion of the Losses.

To demonstrate this commitment, the Bitfinex Group is crediting to your account a token
evidencing a limited­recourse, contingent obligation of the Bitfinex Group. The token is a
notional credit, is dependent on the Bitfinex Group’s recovery of Losses, and is subordinated to
any claims against the Bitfinex Group not related to the Losses. Recovery may include any of
the following: recovery of stolen property; funds raised in one or more financings; and available
cash from ongoing operations. The token has been issued to you without reduction of or other
release or waiver of any claims you may have against the Bitfinex Group. Similarly, the Bitfinex
Group has not waived any claims or defences it may have under the Terms of Use or otherwise
should you choose to assert any claims independent of the token. The obligation evidenced by
the token bears no interest and is not entitled to dividends, distributions, or other income
amounts of any kind. The token is intended to be redeemed to the extent of its ratable share of
the recoveries and may in any event at any time be redeemed by the Bitfinex Group at the
Bitfinex Group’s sole option for its face value less the amount of any prior redemptions.

The token and your rights pursuant thereto may not be assigned except with notice to, and the
prior consent of, the Bitfinex Group, on terms to be determined by the Bitfinex Group. Additional
information about requirements for BFX token transfers.
